226 F.3d 851 (7th Cir. 2000)
    Clinton A. Krislov, individually and on behalf  of all others similarly situated, and Joan A.  Sullivan, Plaintiffs-Appellees,v.Wanda L. Rednour, Chairman of the State Board  of Elections, Hannelore Hulsman, Vice Chairman  of the State Board of Elections, Ronald D.  Michaelson, Executive Director of the State  Board of Elections, et al., Defendants-Appellants.
    No. 99-3801
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued April 20, 2000Decided September 5, 2000
    
      Appeal from the United States District Court for the Northern District of Illinois, Eastern Division.  No. 96 C 674--Elaine E. Bucklo, Judge.[Copyrighted Material Omitted][Copyrighted Material Omitted][Copyrighted Material Omitted]
      Before Manion, Rovner, and Williams, Circuit Judges.
      Manion, Circuit Judge.
    
    
      1
      Clinton Krislov and Joan  Sullivan were candidates in the March 1996  Illinois Democratic Party primary elections for  the United States Senate and the seventh  congressional district for the United States  House of Representatives, respectively. They  initially obtained the required number of  signatures to be placed on the ballot. Supporters  of other candidates, however, objected to some of  the signatures because they were gathered by  circulators who were not registered voters in  Illinois or the seventh district, as required by  Illinois law. After expending substantial time,  effort and money, Krislov and Sullivan managed to  salvage enough signatures to remain on the  ballot, although Krislov voluntarily decided to  exit the Senate race before the primary. Krislov  and Sullivan sued the Illinois Board of  Elections, claiming that requiring signature  gatherers to be registered voters of the relevant  political subdivision violates the First and  Fourteenth Amendments of the United States  Constitution. After the Supreme Court issued its  decision in Buckley v. American Constitutional  Law Foundation, Incorporated, 525 U.S. 182  (1999), which declared a similar ballot-access  law unconstitutional, the district court granted  summary judgment for the candidates. The Board  appeals, arguing that the plaintiffs do not have  standing, that Buckley does not control this  case, and that the law in question is narrowly  tailored to serve a compelling interest. We  affirm.
    
    I.
    
      2
      Clinton Krislov is an Illinois attorney who  sought the nomination of the Democratic Party for  one of the United States Senate seats in the  March 1996, Illinois primary election. Joan  Sullivan is a retired systems analyst who was one  of ten candidates seeking the Democratic  nomination for the United States House of  Representatives seat for the seventh  congressional district in the same 1996 primary  election. Wanda Rednour and the rest of the  defendants-appellants are members of the Illinois  State Board of Elections, which supervises the  administration of Illinois election laws. 10 ILCS  5/1A-1. Krislov and Sullivan ("the candidates")  brought this suit against the Board members in  their official capacities to enjoin enforcement  of the Illinois nomination petitions statute. 10  ILCS 5/7-10. In particular, they complain about  two restrictions on their use of nominating  petition circulators: (1) that the circulator  must be a registered voter; and (2) that the  circulator must be registered to vote in the same  political subdivision for which the candidate is  seeking office, which for Krislov would be the  entire State of Illinois, while for Sullivan it  is the seventh congressional district. 10 ILCS  5/7-10.1
    
    
      3
      Under the statute, the candidate must obtain the  required number of signatures: at least 5,000 but  not more than 10,000 for the Senate race, and for  the congressional race, .5% of the qualified  primary electors of the candidate's party in the  congressional district. 10 ILCS 5/7-10(a), (b).  Both Krislov and Sullivan acknowledge that they  were able to do this with their own resources.  But they point out that they did not always get  to use the circulators of their choice. That is,  they had supporters who were not registered to  vote in Illinois, but who were willing to gather  signatures for them and speak on their behalf  while soliciting signatures. They couldn't  utilize these people, however, because any  signatures gathered by non-resident, non-  registered solicitors would have been invalidated  under 5/7-10.
    
    
      4
      Candidates who are successful in garnering the  required number of signatures must then file them  with the State, which both candidates did. At  this point, the party organization can scrutinize  the signatures and possibly challenge them.  According to the plaintiffs, the established  political parties have extensive resources for  carrying out these challenges, while the  unendorsed candidates frequently cannot marshal  the same efforts, thus ending their candidacies.  When signatures are challenged, a candidate can  opt to employ limited campaign resources to  defend the validity of the signatures (rather  than spend the time and money on the campaigns),  or he can ignore the challenge and face the real  possibility of not appearing on the ballot.  According to the plaintiffs, this is exactly the  scenario they faced in the present case.2
    
    
      5
      In Krislov's case, many of the 10,000 signatures  he filed were challenged by allies of his Party-  supported primary opponent (and eventual winner).  Sullivan's signatures faced similar challenges.  Among the complaints lodged against the  signatures was the charge that circulators of  some petitions were not registered voters in the  relevant political districts. The candidates were  forced to devote significant amounts of time,  money, personnel, and energy responding to the  challenges during the two months preceding the  primary election. This prevented the candidates from devoting these resources to getting their  message out to the public.
    
    
      6
      In response to these challenges, as the March  primary approached, Krislov initiated this suit  as a class action under 42 U.S.C. sec. 1983,  alleging a violation of his First and Fourteenth  Amendment rights. Specifically, he alleged that  because section 7-10 prevented him from using  large numbers of non-registered residents to  circulate his petitions, the law violated his  right to freely associate with those potential  circulators for the purpose of political  expression. He claimed the law also violated his  right to ballot access. Krislov bowed out of the  race in February 1996, but continued to maintain  this suit and sought class certification, in part  because he expects to run for election in the  future. Sullivan joined the suit in April 1996.  The district court subsequently certified a class  which includes all candidates whose nominations  to a primary election ballot have been or will be  challenged on the basis of 5/7-10. Krislov v.  Rednour, 946 F. Supp. 563, 569 (N.D. Ill. 1996).  Both the candidates and the Board moved for  summary judgment, which the district court  initially granted for the Board. Krislov v.  Rednour, 980 F. Supp. 267 (N.D. Ill. 1997).  Later, it vacated that decision and granted  summary judgment for the candidates in light of  the Supreme Court's decision in Buckley v.  American Constitutional Law Foundation,  Incorporated, 525 U.S. 182 (1999) (invalidating  Colorado's requirement that petition circulators  for ballot initiatives be registered voters of  the State). Krislov v. Rednour, No. 96-C-674,  1999 WL 1794035 (N.D. Ill. July 7, 1999). The  district court enjoined the Board from enforcing  the offending portions of 5/7-10 and entered a  final judgment pursuant to Federal Rule 54(b).  The Board appeals.
    
    II.
    A.  Standing and Mootness
    
      7
      The Board first challenges the summary judgment  on standing and mootness grounds. In particular,  it alleges that, because the candidates acquired  enough signatures to appear on the respective  ballots, they suffered no injury.
    
    
      8
      Article III of the Constitution provides that  the judicial power of the courts extends only to  cases or controversies. Therefore, parties  seeking to invoke the jurisdiction of federal  courts must show that they have standing to sue  within the meaning of Article III. Standing has  essentially three components. A plaintiff must  show that he has suffered an "injury in fact,"  that the challenged action caused the injury, and  that the injury can likely be redressed by the  cause of action. Lujan v. Defenders of Wildlife,  504 U.S. 555, 560-61 (1992); State of Wis. v.  F.E.R.C., 192 F.3d 642, 646 (7th Cir. 1999).
    
    
      9
      Here, while the candidates were able to obtain  enough signatures to appear on the ballot, they  were injured in several different ways. By being  denied use of non-registered, non-resident  solicitors, they were required to allocate  additional campaign resources to gather  signatures and were deprived of the solicitors  (political advocates) of their choice. This in  itself can be an injury to First Amendment  rights. Meyer v. Grant, 486 U.S. 414, 424 (1988).  Second, because they were prohibited from using  non-registered and non-resident circulators, they  were limited in the choice and number of people  to carry their message to the public. See  Citizens Against Rent Control/Coalition for Fair  Housing v. Berkeley, 454 U.S. 290, 294 (1981)  ("by collective effort individuals can make their  views known, when, individually, their voices  would be faint or lost"). This injured the  plaintiffs by limiting the size of the audience  the candidates could reach and reducing the  quantum of speech about the candidates' political  views that otherwise could be generated. Meyer,  486 U.S. at 421-22. Also, as we discuss in more  detail below, the candidates claim to have been  deprived of their right to expressively associate  with non-registered or non-resident citizens who  were willing to circulate petitions on their  behalf. See California Democratic Party v. Jones,  120 S. Ct. 2402, 2408 (2000); Tashjian v.  Republican Party of Conn., 479 U.S. 208, 215  (1986) (the First Amendment protects the right of  party members to associate and organize with  nonmembers to achieve political goals); Kusper v.  Pontikes, 414 U.S. 51, 56-57 (1973) ("unduly  restrictive state election laws may so impinge  upon freedom of association as to run afoul of  the First and Fourteenth Amendments"). Thus, the  fact that the candidates garnered enough  signatures to be placed on the ballot does not  negate the other injuries they may have suffered.  These alleged injuries are directly traceable to  5/7-10, thereby satisfying the causation element  of standing.
    
    
      10
      As to redressability, the candidates must only  show that the requested relief will likely cure  the alleged injury. Gillespie v. City of  Indianapolis, 185 F.3d 693, 701 (7th Cir. 1999).  Put differently, the plaintiffs must show that  they would benefit in a tangible way from the  district court's intervention. See Friends of the  Earth, Inc. v. Gaston Copper Recycling Corp., 204  F.3d 149, 162 (4th Cir. 2000) (citing Warth v.  Seldin, 422 U.S. 490, 508 (1975)). Because the  district court has the ability to enjoin the  enforcement of the statute, the harm is  sufficiently redressable in this suit. See  Friends of the Earth, Inc., 204 F.3d at 162.
    
    
      11
      As to mootness, everyone concedes the obvious,  that the date of the primary election in which  Krislov and Sullivan wished to participate has  long since passed. Nevertheless, because the use  of non-resident, non-registered solicitors is  still prohibited by Illinois with respect to  future elections, this case is capable of  repetition yet evading review, a recognized  exception to the mootness doctrine. Rosario v.  Rockefeller, 410 U.S. 752, 756 n.5 (1973) (case  was not moot although date of primary had passed  and plaintiffs were eligible to participate in  the election where their case was capable of  repetition but likely to evade review); Patriot  Party of Allegheny County v. Allegheny City of  Dept. of Elections, 95 F.3d 253, 257 (3d Cir.  1996). This exception to the mootness doctrine is  applicable, as in the present case, where the  challenged situation is likely to recur and the  same complaining party would be subjected to the  same adversity. In re Associated Press, 162 F.3d  503, 511 (7th Cir. 1998); Orion Sales, Inc. v.  Emerson Radio Corp., 148 F.3d 840, 842 (7th Cir.  1998). Because at least Krislov has articulated  an interest in pursuing the Democratic Party's  nomination for other elective offices, we have no  doubt that this case meets these requirements.  Hence, the candidates have standing to bring this  action and mootness is not a bar to the suit.
    
    B.  First Amendment
    
      12
      The First Amendment, made applicable to the  States by the Fourteenth Amendment, prohibits  States from enforcing laws "abridging the freedom  of speech, or of the press, or the right of the  people peaceably to assemble, and to petition the  Government for a redress of grievances." U.S.  Const. amend. I. This Amendment "was fashioned to  assure unfettered interchange of ideas for the  bringing about of political and social changes  desired by the people." Roth v. United States,  354 U.S. 476, 484 (1957). Associating for the  purpose of placing a candidate on the ballot is  one of the actions protected by the First  Amendment; indeed the circulation of petitions  for ballot access "involves the type of  interactive communication concerning political  change that is appropriately described as 'core  political speech.'" Meyer, 486 U.S. at 421-22;  see Timmons v. Twin Cities Area New Party, 520  U.S. 351, 357 (1997); Illinois State Bd. of  Elections v. Socialist Workers Party, 440 U.S.  173, 184 (1979). Restrictions on ballot access,  therefore, can violate several constitutionally  protected interests. See, e.g., Illinois State  Bd. of Elections, 440 U.S. at 184 (restrictions  on ballot access implicate the right to associate  for political purposes, the right to vote, and  the right to express political preferences);  Williams v. Rhodes, 393 U.S. 23, 30 (1968).
    
    
      13
      Like most rights, however, the candidates' First  Amendment rights are not absolute. Burdick v.  Takushi, 504 U.S. 428, 433 (1992); Munro v.  Socialist Workers Party, 479 U.S. 189, 193  (1986). The Constitution does not prohibit the  States from enacting laws which incidentally  burden candidates, for such a proscription would  similarly preclude the regulation of elections  and efforts to ensure their integrity. Because  elections must be regulated to remain free from  fraud and coercion, some latitude is given to  regulations designed to serve these purposes. See  California Democratic Party, 120 S. Ct. at 2406-  07; Toledo Area AFL-CIO Council v. Pizza, 154  F.3d 307, 325 (6th Cir. 1998). The Constitution  itself grants the States broad powers to regulate  the time, place, and manner of elections,  including primary elections. U.S. Const. art. I,  sec. 4, cl. 1; see Oregon v. Mitchell, 400 U.S.  112, 118 (1970) (age minimum); Pope v. Williams,  193 U.S. 621, 632, 633 (1904) (residency  restriction); Campbell v. Buckley, 203 F.3d 738,  743 (10th Cir. 2000). In assessing whether a  State election law impermissibly burdens First  Amendment rights, we examine the character and  magnitude of the burden and the extent to which  the law serves the State's interests. Burdick,  504 U.S. at 434; Anderson v. Celebrezze, 460 U.S.  780, 789 (1983). Laws imposing severe burdens  must be narrowly tailored to serve compelling  state interests, but lesser burdens receive less  exacting scrutiny. California Democratic Party,  120 S. Ct. at 2412; Timmons, 520 U.S. at 358.
    
    
      14
      1.  The nature and extent of the burden.
    
    
      15
      The district court determined that 5/7-10 placed  a substantial burden on the candidates'  rights.3 The Board concedes that the regulation  imposes some burden, but argues that it is  minimal. In cases where the material facts are  undisputed, the character and extent of the  statute's burden involves a question of law which  we review de novo. (WIN) Washington Initiative  Now v. Rippie, 213 F.3d 1132, 1137 (9th Cir.  2000); Weir v. Nix, 114 F.3d 817, 820 (8th Cir.  1997).
    
    
      16
      In arguing that the regulation is only minimally  burdensome, the Board mistakenly focuses solely  on the fact that Krislov needed only 5,000  signatures statewide to be placed on the ballot,  while Sullivan needed only about 660 from the  district.4 In reality a candidate needs a  surplus of signatures, because they will likely  be challenged on any number of grounds, resulting  in some, perhaps many, invalidations. See  Molinari, 82 F. Supp.2d at 75 (Party chairman  conceded campaign needed to obtain up to six  times the required number of signatures to ensure  that enough signatures survive technical  challenges). And the number of signatures a  candidate is required to obtain is just one of  several important considerations. See Buckley,  525 U.S. at 193 n.15; Storer v. Brown, 415 U.S.  724, 740 (1974). Even though the candidates in  this case ultimately obtained ballot access, in  the process their rights were substantially  burdened. The uncontested record indicates that  their ballot access took a lot of time, money and  people, which cannot be characterized as  minimally burdensome. In addition, the candidates  contend that the statute installs other barriers: it inhibits their right to ballot access; it  burdens their right to associate with a class of  circulators; it limits their ability to choose  the methods of political speech they consider  most effective for their campaigns; and it  reduces their ability to disseminate their  message to a wider audience. Thus, even an  election law which required a candidate to obtain  only a relatively small number of signatures  could still burden First Amendment rights if it  also precluded the candidate from utilizing a  large class of potential solicitors to convey his  message, or if it substantially restricted the  candidate's ability to choose the means of  conveying his message. Meyer, 486 U.S. at 421-22.  So the number of signatures the candidates were  required to gather is not the only relevant  consideration.
    
    
      17
      What is particularly important in this case, and  what was correctly the focus of the district  court's attention, is the number of people the  registration and residency requirements exclude  from gathering signatures and thus disseminating  the candidates' political message. See Buckley,  525 U.S. at 193 n.15 (considering the number of  potential circulators who were disqualified from  soliciting signatures). The Board concedes that,  when counting only Illinois residents who are  adults, the number of those not registered or  those not living in the seventh congressional  district is in the millions, and that does not  include potential out-of-state solicitors. By  substantially reducing the number of potential  solicitors, the Illinois "requirement reduces the  voices available to convey political messages."  Buckley, id. at 210 (Thomas, J., concurring); see  Buckley v. Valeo, 424 U.S. 1, 50 (1975)  ("legislative restrictions on advocacy of the  election or defeat of political candidates are  wholly at odds with the guarantees of the First  Amendment"). By preventing the candidates from  employing millions of potential advocates to  carry their political message to the people of  Illinois, the statute places a formidable burden  on the candidates' right to disseminate their  message. Buckley, 525 U.S. at 193 n.15  (impermissible burden placed on speech where  state law barred less than one million potential  circulators).
    
    
      18
      The candidates' right to promote their political  views is also intimately connected with their  right of political association, fittingly called  the right of expressive association. Citizens  Against Rent Control, 454 U.S. at 300; see  generally, Boy Scouts of Am. v. Dale, 120 S. Ct.  2446 (2000). This right is "especially important  in preserving political and cultural diversity  and in shielding dissident expression from  suppression by the majority." Roberts v. United  States Jaycees, 468 U.S. 609, 622 (1984);  Marshall v. Allen, 984 F.2d 787, 800 (7th Cir.  1993) (freedom of association protects  individual's interest in associating with others  to advance political views). "Political  association is at the core of the First  Amendment, and even practices that only  potentially threaten political association are  highly suspect." McCloud v. Testa, 97 F.3d 1536,  1552 (6th Cir. 1996). Although the Illinois  provision does not go so far as to specifically  prohibit candidates from associating with  individuals who are not residents of Illinois or  who are not registered to vote, it still  substantially burdens this right of association  by preventing the candidates from using  signatures gathered by these circulators in an  attempt to reserve a place on the ballot. By  doing so, the law inhibits the expressive utility  of associating with these individuals because  these potential circulators cannot invite voters  to sign the candidates' petitions in an effort to  gain ballot access.5 This, in turn, prevents  these individuals from being used as conduits for  disseminating the candidates' brand of political  speech.
    
    
      19
      The burden placed on the candidates' First  Amendment rights is similar in character and  magnitude to burdens which the Supreme Court has  found to be weighty. For instance, in Meyer v.  Grant the Court stated that the prohibition  against paying circulators of initiative  petitions burdened the free flow of ideas by  limiting the number of voices who will convey the  desired message, by reducing the size of the  audience who might hear the message, and by  making it less likely that the requisite number  of signatures will be obtained, which in itself  inhibited further discussion of the relevant  issues. Id. at 422-23. And recently, in Buckley  v. American Constitutional Law Foundation,  Incorporated, the Court held that a Colorado law  placed a formidable burden on First Amendment  rights because it permitted only registered  voters of Colorado to circulate initiative  petitions for ballot access. 119 S. Ct. at 643.  Accordingly, while an analysis of the burden a  law places on First Amendment rights is  situation-specific, the similarity between these  cases and the present one strongly suggests that  the Illinois statute severely burdens the  candidates' rights.
    
    
      20
      In an attempt to refute this conclusion, the  Board makes two arguments. First, it argues that  Buckley and Meyer are distinguishable, as they  involved ballot access petitions for initiatives  and not candidates. This is not a particularly  relevant distinction, however. To the extent it  is relevant, it suggests that the burden on the  candidates is even greater than that placed on  those who circulate petitions for ballot  initiatives. For the ballot initiative proponent  will generally seek support for the one narrow  issue presented in the initiative, while the  typical candidate embodies a broad range of  political opinions, and thus those who solicit  signatures on their behalf must speak to a  broader range of political topics. See Colorado  Republican Fed. Campaign Comm. v. FEC, 518 U.S.  604, 629 (1996) (Kennedy, J., concurring and  dissenting) (people often give effect to their  views by selecting and supporting candidates who  reflect those views); Lubin v. Panish, 415 U.S.  709, 716 (1974) (voters assert their preferences  through candidates). Indeed, the Supreme Court  has recognized that the primary election process  often has the effect of determining a political  party's position on a variety of significant  issues. California Democratic Party, 120 S. Ct.  at 2408. Thus, it is appropriate to say that  "democracy in any populous unit of governance is  unimaginable without the ability of citizens to  band together in promoting among the electorate  candidates who espouse their political views."  Id. By precluding a class of people from  soliciting signatures on behalf of a particular  candidate, the Illinois law has the potential to  squelch a greater quantity and broader range of  political speech than laws which only restrict  initiative proponents. So this distinction  provides no support for the Board's position, and  certainly doesn't convince us that the Illinois  law doesn't burden the candidates' rights.
    
    
      21
      Illinois next argues that any burden on the  candidates is exaggerated, because although the  law might prevent millions of people from  soliciting signatures on the candidates' behalf,  it is unrealistic to presume that even a few of  those individuals restricted by the law were  actually interested in circulating petitions for  these candidates. It is undoubtedly true that  most people excluded from soliciting signatures  would likely not be avid supporters. But this  fact actually underscores the candidates'  argument that the law severely burdens them.  Candidates who do not have broad support must  count on only a few supporters, and if they are  not registered to vote or do not live in the  district, the already small pool of volunteers  will evaporate, thus greatly limiting the  candidates' ability to disseminate their message  and obtain the required signatures. By contrast,  candidates with the full support of established  parties might easily afford to have non-voting  citizens excluded from the much larger pool of  potential petition circulators. According to the  Board's argument, the law is not particularly  restrictive because it might only prevent the  candidates from using one or two solicitors. But  for some minor candidates, parting with one or  two avid circulators could significantly impact  their campaigns.
    
    
      22
      Furthermore, a candidate is entitled, for the  most part, to have the spokesperson of his  choice. "Government may regulate the manner of  speech in a content-neutral way but may not  infringe on an individual's right to select the  means of speech." Foti v. City of Menlo Park, 146  F.3d 629, 641-42 (9th Cir. 1998). "The First  Amendment protects appellees' right not only to  advocate their cause but also to select what they  believe to be the most effective means for so  doing." Meyer, 486 U.S. at 424. Therefore,  contrary to the Board's argument, the fact that  the regulation leaves open other possibilities of  expression (circulators who are registered  residents) does not mean that the law is not  burdensome. Id.; see Hill v. Colorado, 120 S. Ct.  2480, 2524 (2000) (Kennedy, J., dissenting) ("Our  foundational First Amendment cases are based on  the recognition that citizens, subject to rare  exceptions, must be able to discuss issues, great  or small, through the means of expression they  deem best suited to their purpose. It is for the  speaker, not the government, to choose the best  means of expressing a message."). To the extent  the Illinois law prevents candidates from using  the people they consider to be the best means of  carrying their message to the public, it places a  substantial burden on the candidates' ability to  convey their political ideas, even if it only  restricts the candidate from using a few  circulators. Along these lines, Krislov asserted  in an affidavit that he had friends who were  willing and able to help, but who were  effectively excluded from helping because of the  Illinois statute. This necessarily burdened his  speech and associational interests, and we think  that this burden is substantial.
    
    
      23
      Section 7-10 places a substantial burden on the  candidates' First Amendment rights by making it  more difficult for the candidates to disseminate  their political views, to choose the most  effective means of conveying their message, to  associate in a meaningful way with the  prospective solicitors for the purposes of  eliciting political change, to gain access to the  ballot, and to utilize the endorsement of their  candidacies which can be implicit in a  solicitor's efforts to gather signatures on the  candidates' behalf. Accordingly, to survive, the  statute must withstand exacting scrutiny.6
    
    
      24
      2.  Compelling interests and narrow  tailoring.
    
    
      25
      Laws which place a substantial burden on First  Amendment rights may still withstand heightened  scrutiny if they are narrowly tailored to serve a  compelling state interest. Eu v. San Francisco  County Democratic Central Comm., 489 U.S. 214,  225 (1989); Libertarian Party of Ill. v. Rednour,  108 F.3d 768, 773 (7th Cir. 1997). The question  of whether the Board's asserted interests qualify  as compelling is one of law; where the material  facts are undisputed, the necessity of the chosen  means also involves a question of law. We review  both of these questions de novo. (WIN) Washington  Initiative Now, 213 F.3d at1137; Citizens  Concerned About Our Children v. School Bd. of  Broward County, Fla., 193 F.3d 1285, 1292 (11th  Cir. 1999) (per curiam); Peterson v. Minidoka  County Sch. Dist. No. 331, 118 F.3d 1351, 1357,  amended, 132 F.3d 1259 (9th Cir. 1997). We assess  whether the state's interest is substantial by  examining the specific facts of the case.  California Democratic Party, 120 S. Ct. at 2413.  In evaluating the breadth of the law, we must  take into account the other mechanisms the State  currently employs to serve the statute's purpose,  as well as other, less restrictive means it could  reasonably employ. Norman v. Reed, 502 U.S. 279,  293 (1992); Jenness v. Fortson, 403 U.S. 431, 442  (1971); Ayres v. City of Chicago, 125 F.3d 1010,  1016 (7th Cir. 1997). The State need not use the  least restrictive means available, as long as its  present method does not burden more speech than  is necessary to serve its compelling interests.  Ward v. Rock Against Racism, 491 U.S. 781, 799  (1989); Anderson, 460 U.S. at 789; Ayres, 125  F.3d at 1016.
    
    
      26
      The Board asserts that three interests are  served by 5/7-10. First, the law ensures that the  candidates have a significant level of support in  the community to merit ballot access so as to  avoid confusion and deception. The Supreme Court  has held that this is an important interest.  Jenness, 403 U.S. at 442; see Libertarian Party  of Ill., 108 F.3d at 775 (Illinois has an  important interest in ensuring that a new  political party has a modicum of support before  placing its candidates on the ballot); Prestia v.  O'Connor, 178 F.3d 86, 88 (2d Cir. 1999) (per  curiam). The problem here is that the law is not  narrowly tailored to serve this interest. In  fact, the law appears unnecessary, as the  signature quota--5,000 in the case of Krislov and  about 660 in the case of Sullivan--already  ensures that candidates have a minimum level of  support. See Lubin, 415 U.S. at 717 (signature  requirement for ballot access is the most common  means of testing a candidate's level of support).  As long as the required number of signatures are  valid and they were obtained by an adult, what  more is needed? The Board does not suggest any  way in which its interests are not sufficiently  served by the signature quota. Thus the necessity  of 5/7-10's residency and registration  requirements is dubious.
    
    
      27
      Furthermore, even if the Board's interest in  assuring a threshold level of support were not  served by other means, it is obvious that the  "fit" between the end to be served by the statute  and the means selected to achieve it is not  particularly tight, as the provision potentially  excludes candidates who have support among the  electorate, or who might have support if they  could get out their message. Laws which could  prevent viable candidates from being elected are  at odds with the very foundation of our  representative democracy. Bullock, 405 U.S. at  143 (invalidating on equal protection grounds a primary election filing fee where many "potential  office seekers lacking both personal wealth and  affluent backers are in every practical sense  precluded from seeking the nomination of their  chosen party, no matter how qualified they might  be, and no matter how broad or enthusiastic their  popular support"). Section 7-10 suffers from this  very defect. Under this provision, a candidate  who has reasonable support in his district might  be denied the possibility of being placed on the  ballot simply because his supporters who are  registered voters and who reside in the relevant  political subdivision may not have the time or  the energy to solicit signatures. Such a  candidate will be kept from disseminating his  message and might be denied ballot access despite  potential support from the electorate. This is  the rationale the Court used in Lubin v. Panish  when it invalidated a California law that  required candidates for primary elections to pay  a filing fee of $701.60. 415 U.S. at 710. The  Court dismissed the State's asserted  justification--the need to ensure that candidates  have support among the electorate--because filing  fees "do not, in and of themselves, test the  genuineness of a candidacy or the extent of the  voter support of an aspirant for public office."  Id. at 717. Because the same is true of residency  or registration requirements for petition  circulators, section 7-10 also burdens much more  speech than is necessary to serve its purpose. We  therefore agree with the district court that this  law is not narrowly tailored to serve the Board's  goals. Ward, 491 U.S. at 799 (a statute cannot be  narrowly tailored when it burdens "substantially  more speech than is necessary to further the  government's legitimate interests").
    
    
      28
      The Board next asserts that, by requiring  solicitors to reside in the same district in  which the candidate is seeking office, the law  makes it more likely that they will be aware of  the boundaries of the district and will thus  solicit only valid signatures. This interest is  largely paternalistic, as its underlying premise  is that the State needs to protect candidates  because they aren't savvy enough to find  solicitors who can read a street map, and thereby  refrain from soliciting signatures in areas  outside the relevant district. Of course, there  is no per se bar to paternalistic laws, but they  are highly suspect when they also burden speech.  Eu, 489 U.S. at 223; Anderson, 460 U.S. at 798 (a  law which restricts the flow of information  primarily to serve paternalistic interests "must  be viewed with some skepticism"); cf. 44  Liquormart, Inc. v. Rhode Island, 517 U.S. 484,  507 (1996) (state cannot prohibit commercial  speech in an effort to serve paternalistic  purpose where the chosen means has not been shown  to serve the state's goal). Although the desire  to help candidates obtain valid signatures, and  thereby promote political speech, is a legitimate  state interest, it's not clear that this interest  should be considered compelling or important.  Furthermore, we doubt this law is essential or  even well suited to the asserted interest. The  Board offers nothing to suggest that this law is  necessary, even though the residency and  registration requirements were added to the law  about 1979, giving the Board an opportunity to  compare petitions from before and after the  amendment to determine whether the law has  decreased the number of invalid signatures. The  Board also doesn't attempt to show that residents  of a given congressional district know the  boundaries of that district to an appreciably  greater extent than non-residents. But even  assuming that this is true, a much more narrow  law--like one that required candidates to provide  all circulators with a map showing the boundaries  of the district--would be more effective. And as  to Krislov, State boundaries are easily  discernible and equally apparent to all  circulators, regardless of whether they reside in  Illinois or another State, which makes the  necessity of this provision even more  questionable.
    
    
      29
      The Board also claims that this provision will  at least help ensure the integrity of the  election process, which as a general proposition  is certainly a compelling interest. Timmons, 520  U.S. at 358. It argues that the residency  requirement might increase the probability that  only valid signatures will be collected, thus  ensuring that candidates will not obtain ballot  access unless they have valid signatures. But a  resident would likely be at the same risk of  obtaining an invalid signature (e.g., the  signer's registration had expired) as would a  non-resident. Like the Supreme Court, we think  that the dangers to the electoral system  envisioned by the Board are particularly remote  when simply gathering signatures, and thus this  interest might not be so important at this early  stage in the election process as to justify the  burden imposed. Meyer, 486 U.S. at 427 (risks of  deceit and fraud are more remote at the petition  stage than at the time of balloting). Regardless,  when "the Government defends a regulation on  speech as a means to . . . prevent anticipated  harms, it must do more than simply posit the  existence of the disease sought to be cured."  Turner Broadcasting Sys., Inc. v. F.C.C., 512  U.S. 622, 664 (1994) (internal quotations  omitted). It must show that the "recited harms  are real, not merely conjectural" and that the  regulation will in fact materially alleviate the  anticipated harm. Id. The Board is unable to do  this in light of the fact that the residency  requirement is largely duplicative of its other  requirements, and that circulators certify to the  best of their knowledge that the signatures are  valid. See 10 ILCS 5/10-4, 5/7-10. Furthermore,  this interest is ultimately served by the  Illinois process for challenging invalid  signatures, which we discussed above.  Importantly, the Board doesn't argue that its  interest in obtaining valid signatures is greatly  assisted by the residency restriction, or even  that it is necessary to achieve this goal.  Because the same ends can be achieved just as  easily (and probably more effectively) through  other means already in existence, the residency  and registration requirements are unnecessary.  And because those other means do not burden the  candidate's speech and associational interests to  the extent the residency and registration  requirements do, the residency and registration  requirements of section 7-10 cannot be described  as narrowly tailored to serve these asserted  interests.
    
    
      30
      The Board also contends that the law ensures  that candidates have sufficient in-state support  from the electorate. There seems to be three  facets to this interest. First, the law ensures  that candidates have a minimum of local support  before they are placed on the ballot. We have  already discussed this interest above, and  regardless of how the argument is repackaged, the  means chosen to serve this concern are not  narrowly tailored. Second, the Board asserts an  interest in allowing only Illinois voters to  influence Illinois politics. If this means that  the law is designed to ensure that only Illinois  residents have a say in electing their  representatives, nobody questions the legitimacy  or weight of this interest. See Holt Civic Club  v. City of Tuscaloosa, 439 U.S. 60, 68-69 (1978)  ("a government unit may legitimately restrict the  right to participate in its political processes  to those who reside in its borders"). But this  interest in selecting and electing a candidate is  already adequately served by several other  provisions. Specifically, three other provisions  state that only Illinois voters may sign  nominating petitions, vote in primary elections,  and vote in the general election. See 10 ILCS  5/7-10 (nominating petitions); 10 ILCS 5/7-43  (primary elections); 10 ILCS 5/3-1 (general  elections). Because only the signatures on the  petition are counted, there is no apparent reason  for the circulator to also be a registered voter  residing in the district. This makes section 7-10  superfluous, and thus not narrowly tailored to  serve this interest.
    
    
      31
      To the extent this law is designed to serve a  third interest--preventing citizens of other  States from having any influence on Illinois  elections--we question its legitimacy. Such laws  are harmful to the unity of our Nation because  they penalize and discriminate against candidates  who wish to associate with and utilize the speech  of non-residents. Allowing citizens of the other  forty-nine States to circulate petitions  increases the opportunity for the free flow of  political ideas. In some cases this might entail  the introduction of ideas which are novel to a  particular geographic area, or which are  unpopular. But the First Amendment "was designed  to secure the widest possible dissemination of  information from diverse and antagonistic sources  and to assure unfettered interchange of ideas for  the bringing about of political and social change  desired by the people." Buckley v. Valeo, 424  U.S. at 49 (internal punctuation omitted). This  surely includes ideas from citizens of other  States, and especially political ideas. Because  circulating nominating petitions necessarily  entails political speech, it follows that the  First and Fourteenth Amendments compel States to  allow their candidates to associate with non-  residents for political purposes and to utilize  non-residents to speak on their behalf in  soliciting signatures for ballot access  petitions. Cf. Warren v. Fairfax County, 196 F.3d  186, 190 (4th Cir. 1999) (en banc) (law which  precludes non-residents from using public forum  violates First Amendment); Vannatta v. Keisling,  151 F.3d 1215, 1218 (9th Cir. 1998) (law which  prohibits candidates from accepting campaign  contributions from anyone living outside the  candidate's voting district violates the First  Amendment); Whitmore v. FEC, 68 F.3d 1212, 1215  (9th Cir. 1995). Therefore, section 7/10 is not  narrowly tailored to serve a compelling state  interest. It therefore violates the First  Amendment rights of the candidates and its  enforcement must be enjoined.7
    
    III.
    
      32
      Because 10 ILCS sec. 5/7-10 prevents political  candidates from fully associating with  individuals who are not registered to vote in the  relevant political subdivisions to circulate  nominating petitions, and because it greatly  minimizes the candidates' ability to disseminate  one type of political speech through these  individuals, the provision substantially burdens  the candidates' First Amendment rights. It cannot  withstand exacting scrutiny because although it  helps ensure that candidates have a modicum of  support among the electorate, it is not narrowly  tailored to serve this or any other compelling  interest. Therefore, the district court's  decision to grant summary judgment for the  candidates is
    
    
      33
      AFFIRMED.
    
    
      
        Notes:
      
      
        1
         By requiring that circulators be registered  voters living in the seventh district, section 7-  10 creates an anomaly. Under the Qualifications  Clause, not even candidates for the seventh  district seat are required to live in the  district. U.S. Const. art. I, sec. 2, cl.2  (requiring only that a Representative be twenty-  five years-old, a citizen for seven years, and  "an Inhabitant of that State in which he shall be  chosen"). The Constitution also does not require  candidates to be registered to vote, either  generally or in a specific district. Recently,  the Ninth Circuit invalidated a California law  that required candidates for elected office to  reside in that State at the time nominating  petitions were filed, because States do not have  the authority to supplement the constitutional  requirements for the U.S. House of  Representatives. Schaefer v. Townsend, 215 F.3d  1031 (9th Cir. 2000).
      
      
        2
         This difficult process is not unique to Illinois.  See Molinari v. Powers, 82 F. Supp.2d 57, 62-63  (E.D.N.Y. 2000) (describing challenges brought  against the nominating petitions of Republican  presidential candidate Steve Forbes by the New  York Republican State Committee).
      
      
        3
         Of course, the restriction also affects the  rights of potential solicitors (unregistered non-  residents) and those who might hear their  message. See Sweezy v. State of N.H. by Wyman,  354 U.S. 234, 251 (1957) ("History has amply  proved the virtue of political activity by  minority, dissident groups, who innumerable times  have been in the vanguard of democratic thought  and whose programs were ultimately accepted.").  But because none of these potential circulators  has joined the candidates in seeking relief from  the Illinois statute, like the district court we  confine our analysis to the interests of the  candidates.
      
      
        4
         Neither the candidates nor the Board specifically  offers the exact number of signatures Sullivan  needed to appear on the ballot, but they agree  that it was about 660.
      
      
        5
         As this court has previously noted, prohibiting  candidates from using signatures gathered by  forbidden circulators does not specifically  preclude these circulators from speaking for the  candidates. Citizens for John W. Moore Party v.  Board of Election Comm'rs of the City of Chicago,  794 F.2d 1254, 1260 (7th Cir. 1986). But by  making an invitation to sign the petition a  thoroughly futile act, it does prevent some  highly valuable speech from having any real  effect. Robbed of the incentive of possibly  obtaining a valid signature, candidates will be  unlikely to utilize non-registered, non-resident  circulators to convey their political message to  the public.
      
      
        6
         We note that even if the statute did not place a  substantial burden on First Amendment rights we  would still subject it to exacting scrutiny  because it places more than a minimal burden on  core political speech. See Meyer, 486 U.S. at  421-22 (circulating petitions for ballot access  involves core political speech); see also  McIntyre v. Ohio Elections Comm., 514 U.S. 334,  348 (1995) (laws that burden core political  speech are subject to exacting scrutiny).
      
      
        7
         This is not to say that a State could never  regulate non-citizen circulators. Thus, for  example, to ensure the integrity of the process,  States might require non-citizens to register  with the Board of Elections and agree to submit  to the jurisdiction of Illinois courts. See  Buckley, 119 S. Ct. at 644. And if the use of  non-citizens were shown to correlate with a high  incidence of fraud, a State might have a  compelling interest in further regulating non-  citizen circulators. But the Board does not  assert these interests.
      
    
    